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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


JERRY DAVIDSON, individually, and on                )
     behalf of all others similarly situated,       )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )     No. 1:20-cv-1263 (LMB/JFA)
                                                    )
                                                    )
UNITED AUTO CREDIT CORPORATION,                     )
     A California corporation,                      )
                                                    )
               Defendant.                           )


                                    NOTICE OF APPEAL

       Notice is hereby given that JERRY DAVIDSON, on behalf of himself and the class he

seeks to represent, hereby appeals to the United States Court of Appeals for the Fourth Circuit

from the Final Order and Memorandum Opinion entered in this action on the nineteenth day of

May 2021. (ECF No. 78 & 77.)



                                             Respectfully Submitted,

                                             JERRY DAVIDSON,

                                             By: /s/ Leonard A. Bennett

                                             Leonard A. Bennett, VSB #37523
                                             CONSUMER LITIGATION ASSOCIATES, P.C.
                                             763 J. Clyde Morris Boulevard, Suite 1-A
                                             Newport News, VA 23601
                                             (757) 930-3660
                                             (757) 930-3662 fax
                                             Email: lenbennett@clalegal.com
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                                   Kristi C. Kelly, VSB #72791
                                   KELLY GUZZO, PLC
                                   3925 Chain Bridge Road, Suite 202
                                   Fairfax, VA 22030
                                   Telephone: 703-424-7572
                                   Fax: 703-591-0167
                                   Email: kkelly@kellyguzzo.com

                                   Janet R. Varnell, FBN: 0071072
                                   Brian W. Warwick, FBN: 0605573
                                   Matthew T. Peterson, FBN: 1020720
                                   Erika Willis, FBN: 100021
                                   1101 E. Cumberland Ave., Ste. 201H, #105
                                   Tampa, FL 33602
                                   Telephone: (352) 753-8600
                                   Facsimile: (352-504-3301
                                   jvarnell@varnellandwarwick.com
                                   bwarwick@varnellandwarwick.com
                                   mpeterson@varnellandwarwick.com
                                   ewillis@varnellandwarwick.com
                                   kstroly@varnellandwarwick.com


                                   Tina Wolfson
                                   Christopher E. Stiner
                                   AHDOOT & WOLFSON, PC
                                   10728 Lindbrook Drive
                                   Los Angeles, California 90024
                                   Tel: 310-474-9111
                                   Fax: 310-474-8585
                                   twolfson@ahdootwolfson.com
                                   cstiner@ahdootwolfson.com

                                   Counsel for Plaintiff




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                                      Certificate of Service

         Hereby certify that on the 18th day of June, 2021, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will then send a notification of such
filing (NEG) to all counsel of record.




                                               /s/ Leonard A. Bennett
                                              Leonard A. Bennett, VSB #37523
                                              CONSUMER LITIGATION ASSOCIATES, P.C.
                                              763 J. Clyde Morris Boulevard, Suite 1-A
                                              Newport News, VA 23601
                                              (757) 930-3660
                                              (757) 930-3662 fax
                                              Email: lenbennett@clalegal.com




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